869 F.2d 594Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Mark Allen SPEARS, Petitioner-Appellant,v.Jim G. BULLOCK;  Attorney General of the State of NorthCarolina, Respondents- Appellees.
    No. 88-6757.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  Nov. 29, 1988.Decided:  Feb. 13, 1989.
    
      Mark Allen Spears, appellant pro se.
      Richard Norwood League (Office of the Attorney General), for appellees.
      Before JAMES DICKSON PHILLIPS and WILKINSON, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Mark Allen Spears appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Spears v. Bullock, C/A No. 87-793-HC (E.D.N.C. July 27, 1988).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    